       Case 1:10-cr-00080-SM       Document 52      Filed 04/08/11   Page 1 of 2




                    UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                 Case No. 10-cr-80-02/03/04/05-SM

Anthony Scott, Ashley Scala,
Gary Patch and Maria Valdez



                                      ORDER

      The defendant Maria Valdez, through counsel, has moved to continue the trial

scheduled for April 19, 2011 for a period of 45 days, citing the need for additional

time to finalize ongoing plea negotiations. Co-defendants do not object, nor does

the government object to a continuance of the trial date.

      Accordingly, for the above reasons, the court will continue the trial from April

19, 2011 to June 21, 2011. In agreeing to continue the trial, the court finds pursuant

to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the ends of justice

served in granting a continuance outweigh the best interests of the public and the

defendants in a speedy trial. The defendant shall file a waiver of speedy trial not later

than April 18, 2011.
      Case 1:10-cr-00080-SM        Document 52   Filed 04/08/11    Page 2 of 2




      Final Pretrial Conference:       June 10, 2011 at 4:00 PM

      Jury Selection:                  June 21, 2011 at 9:30 AM

      SO ORDERED.



April 8, 2011                          _ _ _ _ _ _ _ _ _ _ _ _ _
                                       Jteven J. McAuliffe
                                       Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




                                          2
